Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 1 of 37

 

Fillin this information to identify your case and this filing:

 

Debtors FOr Danielle Gray ;
Fest Name Aocliey Marnie Lost Nana

Debtor 2 _ oe ees ee _

(Spouse, if filing) Fist Name Middie Name Last Nome

United States Bankruptcy Court for the: Western District of Michigan

Case number — ESTER!

 

 

Official Form 106A/B
Schedule A/B: Property

 

FILED

2019NOY 20 PH 3:30
PAICHELLE Ni. Fil SO, CLERK
f §, BANKRUPTCY COURT

DIST. Oy WICH! GAN

() Check if this is an
amended filing

12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you@hink it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for suppiying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

| Pare 4: | Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an interest In

 

1, Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

Yi No. Go to Part 2.
L) Yes. Where is the property?
What is the property? Check all that apply.
Single-family home
Duplex or multi-unit building

 

Street address, if available, or other description a
Condominium or cooperalive

Manufactured or mobile home
Land

Investment property
Timeshare

Other

Ciy — Slate ZIP Code

|
|
OOOooocoo

Who has an interest in the property? Check one

Q) Debtor 1 only
County ~—SOC«Y Debtor 2 ony

C) Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

Do nol deduct secured claims or exemptions. Pul
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$_ i, PRs
Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

C} Check if this is community property
(see instructions)

@ Other information you wish to add about this item, such as local

property identification number:

 

If you own or have more than one, list here:
What is the property? Check all that apply

Single-family home

1.2.
Street address, if available, or other description

 

Duplex or multi-unit building
Condominium or cooperative

Manufactured or mobile home

 

Land
Investment property
Timeshare

Olher

City - State ZIP Code

OOOooooo

Who has an interest in the property? Check one.

LJ Debtor 4 only

QC) Debtor 2 only

OQ) Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

 

Counly

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Wha Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

LI Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 106A/B Schedule A/B: Property

page 1
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 2 of 37

Debtor:  TOry Danielle Gray

First Name NMedae Name Last Name

Case number (14cm)

 

What is the property? Check all that apply.
QO Single-family home
CQ duplex or mutti-unit building

Oo not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
1.3. Creditors Who Have Claims Secured by Property.

Street address, if available, or cther description

 

 

 

@ OQ) Condominium or cooperative eae ee “ the current value oe
C) Manulactured or mobile home Property Portion you ©
Q Land $ 8

QC investment property

 

Describe the nature of your ownership

 

 

 

 

 

Ci State ZIPCode (J) timeshi
"v ae eee Q tmesnare interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
c Q) Debtor 1 only
ounty (2 vebtor 2 only
C1 debtor 1 and Debtor 2 only C) Check if this is community property
C2 At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages 0
$
you have attached for Part 1. Write that number here. ................:cceses008 Ce eeoeee ee esaceetesonecteresetesceseeeceteceeconesesseenenes »>

 

 

Describe Your Vehicles

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also repart it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

2) No
Wl ves
34. Make: Buick Who has an interest in the property? Check one. 0 not deduct secured claims or exemptions. Put
i io btor 4 onl the amount of any secured claims on Schedule D:
Model: eptor | only Creditors Who Have Claims Secured by Property.
2002 C3 Debtor 2 only
Year: —_—-- Current value of the Current value of the

Approximate mileage:

Other information:

If you own or have more than one, describe here:

3.2, Make:
Model:
Year:
Approximategnileage:
Other information:

f

Official Form 106A/B

(J) debtor 1 and Debtor 2 only
(2 At teast one of the debtors and another

O) check if this is community property (see
instructions)

Who has an interest in the property? Check one.

QO) Debtor + only

QO Debtor 2 only

CQ) Debtor 4 and Debtor 2 only

() Atleast one of the debtors and another

(C) Check if this is community property (see
instructions)

Schedule A/B: Property

entire property? portion you own?

5 2000.00 , —_—_2000.00

 

Do not deduct secured claims er exemptions. Put
the arnount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

page 2
 

|

Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 3 of 37

 

Who has an interest in the property? Check one.

Debtor1  TOry Danielle Gray
First Name Middto Namo Last Name
3.3. Make:
Model: C1 Debtor 1 only
Year: CQ) Debtor 2 only

Approximate mileage:

Other information:

3.4. Make:
Model:
Year:
Approximate mileage:
Other information:
@

i
i
i
&

 

Official Form 106A/B

Cl Debtar 1 and Debtor 2 only
C) At teast one of the debtors and another

C) check if this is community property (see
instructions)

Who has an interest in the property? Check one.

C2 Debtor i only

Q debtor 2 only

(3 Debtor 1 and Debtor 2 only

D2 Atteast one of the debtors and another

O) Check if this is community property (see
instructions)

Schedule A/B: Property

Case number ¢taxany

Co not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do nol dediict secured claims or exemptions. Put
the amount of any secured clainis on Schedule OD:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehictes, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
YW No
QC) Yes
4.1. Make: Who has an interest in the property? Check one. —_ 9 not deduct secured claims or exemptions. Put
Q peter 4 ont the amount of any secured claims on Schedule D:
Model: ebler 1 omy Creditors Who Have Claims Secured by Property.
OC) Debtor 2 only
Year. QO d Debtor 2 ont
; ; Deblor 1 and Debtor 2 only Current vaiue of the Current value of the
Other information: — _ _. C1 At least one of the debtors and another entire property? portion you own?
|
| i ( check if this is community property (see $ $
1 instructions)
If you own or have more than one, list here:
42. Make: Who has an interest in the property? Check one. gy not deduct secured claims or exemptions. Put
. @ ~ U pebtor 1 ant tho amount of any secured claims on Schedule D:
Model: ebtor T only Creditors Who Have Claims Secured by Property.
y. QO Debtor 2 only th C ' fth
ear: Current value of the urrent value of the
; a O1 Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: (2 At teast one of the debtors and another
| Och ej $ $
| ! eck if this is community property (see
: instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages s 2,000.00
you have attached for Part 2. Write that murmber Were oo. ecsecccccsssseeecssee csesssssscseccscssevescensceoneecsennnsesesssavenseseccesseeregsssssscesss SD

 

 

 

page 3
co ew gZeete

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Sein,
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Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 4 of 37

Debtor1 ‘TOF Danielle Gray

Fest Nore Maddlo Name Last Name

Case number ¢tincoar),

 

| Part 3: | Describe Your Personal and Household Items

Do you own or have any legal or equitable Interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kilchenware

QO No a
W Yes. Deseribe......... Sofa, table

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners, music
collections, electronic devices including cell phones, cameras, media players, games

ha No . ccc oe
Q] Yes. Describe..........

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

i No pe wee nin . ~ -—

CO) Yes. Describe..........:

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment, bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

M2 No ae ee a
(2 Yes. Describe..........

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
G4 No Qe
DQ) Yes. Describe..........:

 

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

Q No . . —-
W Yes. Describe shirts, pants, shoes

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

Q) No -
MA Yes. Describe...........5;

13. Non-farm animals
Examples: Dogs, cats, birds, horses

MW No . -
Q) Yes. Deseribe...........

14. Any other personal and housuhold items you did not already list, including any health aids you did not list

62 No .
C2 Yes. Give specific |
information. ....@....4

15. Add the dollar value of all of your entries from Part 3, including any entries for pages ycu have attached

for Part 3. Write that mumber Were oo... ceccscessescceeeceeesenee ccceees uae ereteacsesccessseese caeseaesceceeacesseseseneanseesanenseesseaeaesnseneesenencns

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

5 2,000.00

$ 500.00

$ 500.00

 

s_.__ 3,000.00

 

 

page 4

 
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Dettors “POLY P

Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 5 of 37

Danielle Gray wee Case number (4 kcwny

 

Fiest Name

 

Middle None Last Nama

FR ve serine Your Financial Assets

Do you own or have any legal or equitable Interest in any of the following?

16.Cash
Examples: Money you

C) No

17.Deposits of money

[) No

have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

 

 

 

 

 

 

 

 

 

 

18. Bonds, mutual funds, or publicly traded stocks

Examples: Bond funds,

W No

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 

 

 

an LLC, partnership, and joint venture

W No

QO ves. Give specific
information about

 

 

soca tennant nntnnny visite its tegnhnvesi sn tntnias ee C88 eee § 50.00
Examples: Checking, savings, or other financial accounts; certificates of deposit: shares in credit unions, brokerage houses.
and other similar institutions. If you have multiple accounts with the same institution, list each.
Institulion name:
47.1. Checking account: a)
17.2. Checking account: $
17.3. Savings account: AAC Credit Union S 0
17.4, Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: _— $
17.7. Other financial account: $
17.8. Other financial account: $
17.9, Other financial account: $
investment accounts with brokerage firms, money market accounts
Institution or issuer name:
$
$
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
Name of entity: % of ownership:
0,
0% % $
9,
0% %
0%

Official Form 106A/B

%

 

Schedule A/B: Property

page 5
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 6 of 37

Oebtor 1 Tory Danielle Gray Case number (4inean)__

 

$ wet Name Addie Nome Last Nama

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

i No

CI Yes. Give specific Issuer name:
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

HREM. — a — $
$.
- - - - $.
@
21. Retirement or pension accounts
Exampies: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
W No
. CQ) Yes. List each
; account separately. Type of account: Institution nate:
> 401(k) or similar plan: _. $
, Pension plan: $
IRA: s
1
a Retirement account: $
Keogh: $
} Additional account: $
t
“y Additional account: Ss
a
. t
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
@
W No
CD Ves uo cccccessecsen Institution name or individual:
Electric: $
Gas: $
Heatng oi: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water. 5
Rented furntiure: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
a No
St Issuer name and description:
$
@ $
Official Form 106A/B Schedule A/B: Property page 6
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 7 of 37

Debtor: FOFY Danielle Gray

Fost Namo Media Namo Last Name

Case number (4 knoan),

 

24.Interests in an ede@ation IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
28 U.S.C. §§ 530(b}(1), 529A(b), and 529(b)(1).

wa No
QO ves

 

tnstitution name and description, Separately file the records of any interests.11 U.S.C. § 521(c)

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

WI No

CQ Yes. Give specific .
information about them... S$
26. Patents, copyrights, trademarks, trade secrets, and other intellectual proporty
> Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
; Wi No oe _

* CQ) Yes. Give specific
information about them....' Ss

27. Licenses, franchises, and other general intangibles
? Examples: BulldingSermits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

| No - _
; QO] Yes. Give specific '
af information about them... | $
: Money or property owed to you? Current value of the

portion you own?
Do not deduct secured

claims or exemptions.
28. Tax refunds owed to you

QD No a ;

WY) Yes. Give specific information -Refund Federal: $ 7,000.00
about them, including whether 890.00 00
you already filed the returns State: $ :
and the tax years. oo... Local: $ 0

29. Family support
Examples: Past due or jump sum alimony, spousal support, child support, maintenance, divorce settlement, property seltlement
W No oo
() Yes. Give specific information.............. |
: Alimony: 8
: Maintenance: $
@
Support: $.
" Divorce settlement: $
_ Property settement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
No ;
C) Yes. Give specific Information. .......0|

Official Form 106A/B Schedule AJB: Property page 7
gets.

Se

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Debtor: TOF Danielle Gray

Case number (itimoany
Fest Namo Midéie Name Last Name

 

31. Interests in incurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

WY No

OQ) Yes. Name the insurance company

. v Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

$

 

 

 

32. Any Interest In property that Is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

f No @

CQ) Yes. Give specific information.............. :

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

W No _
C] Yes. Describe each claim... :

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

i No
O) Yes. Describe each claim. .......ccc:

35. Any financial assets you did not already list

W No

OQ Yes. Give specific information............. :

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 7,650.00
for Part 4. Write that number here . . svaresserssnssscsensssseessnssusensecanssaseceecessscesessessneesseesessssveessess SD S$ ' :

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
W No. Go to Part 6.
OQ Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
ar exemntions.

38. Accounts receivable or commissions you already earned

i No
C) Yes. Describe...

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

W No ee _ 8 - _ a ;
C) Yes. Deseribe....... $

Official Form 106A/B Schedule AJB: Property page 8
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19

Danielle

Debtor 4 Tory ree Gray oo i Case number
First Name

Middie Narne

 

 

Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

MW No

C3 Yes. Describe

41. Inventory
Ld No
QO) Yes. Describe

Page 9 of 37

(if known}

 

 

 

 

fice $
42. Interests in partnerships or joint ventures
Md No
Q Yes. Describe....... Name of entity: % of ownership:
a a he $ noe
sa = Pe rs 5. _
a a ee _ %y 5
43.Customer lists, mailing lists, or other compilations
Ld No
QO) Yes. Do your lists include personally identifiable information (as defineo in 11 U.S.C. § 101(41A))?
CY No
O) Yes. Describe........
$
44. Any business-related property you did not already list
Gd No
CE Yes. Give speq
ve peagc $ _
information .........
_ _ a __ $e
as smi oes oe 3
oe se ee $ ee
as oe $ eee
Sn eS —————
45, Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0

for Part 5. Write that number here 000.0000...

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.

lf you own or have an interest in farmland, list it in Part 1.

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

Mi No. Go to Part 7,
O) Yes. Go to line 47.

47. Farm animals
Examples: Livestocs, poultry, farm-raised fish
Gd No
CDV eS ooocccccccsssssseeeeel

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.
~ Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 10 of 37

Debtor 1 Tory Danielle Gray Case number (f socan)

Furst Name Middie Namo iasl Namo

48. Crops—either growing or harvested

WY No wee Soe

QO) Yes. Give specific
information. ...........5 .§

49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4 No
oO VOS oc icceccesteccerseae! oes —
. _ S__
50. Farm and fishing supplies, chemicals, and feed
W No
A 7 en —— -
oo a - $
51. Any farm- and commercial fishing-related property you did not already list
WZ No _ ee —_ _
' C) Yes. Give specific |
i informalion...... , . 5
se ee seesetn See a
ty 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
" for Part 6. Write that number here ............ccccccccccsssscsesesssscsscesssusnesesetessseneee ceases: ve a 4
a
% Describe All Property You Own or Have an Interest in That You Did Not List Above
i fi
/ 53. Do you have other property of any kind you did not already list?
/ > . Examples: Season lickets, country club membership
. Wi No pre me ren Pen
ot OQ ves. Give specific $.
4 information............
i i _—.
54. Add the dollar value of all of your entries from Part 7. Write that number here 000000... ccs cesses cee oD § 0
List the Totals of Each Part of this Form
§5. Part 1: Total real estate, lime 2 oo. cccccccsssescsecesesccsssessuessusesensessaseasesessesccansassssecsunscenscssssssassceuseessusssssseceansesisesanecsssscssseecessee > ssi
56. Part 2: Total vehitres, line 5 $_ 2,000.00
57. Part 3: Total personal and household items, line 15 $ 3,000.00
58. Part 4: Total financial assets, line 36 $ 7,650.00
59. Part 5: Total business-related property, line 45 $ 0
60. Part 6: Total farm- and fishing-related property, line 52 $. _ 0
61. Part 7: Total other property not listed, line 54 +S 0
62. Total personai property. Add lines 56 through 61. ..........0.00..... $ 12,650.00: Copy personal property total #5 12,650.00

 

63. Total of all property on Schedule A/B. Add line 55 + line 62. ............-.-ccc ences casecessevasenseaseaerensestenseresseseseeseeseveueate $. 12,650.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 10
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aE Ty ales information to identify your case: ; : E L
Tory Danielle Gray E D

 

  

 

Debtor 1 pee
Fira) Manne, Midvtle Marne Last Name

nee filing) Fest Name Middle: Marne oe Laat Nare 7 2019 NOY 20 PH 3: L5

United States Bankruptcy Court for the: Western District of Michigan MAuCE co sings
PANVEIO LL y GLE i

Case numb OS ! .$, BANK’ ur ( cl y COURT Q Check if this is an
ura . 1 5 f

VESTERH D i DIST. 6 OF Why CHIGAH amended filing

Oificial Forn, 106C
Schedule C: The Property You Claim as Exempt 04/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B; Property (Official Form 106A/B) as your source, list the property thal you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property You Claim as Exempt

 

1, Which set of exemptions are you claiming? Check one only, even if your spouse ts filing with you.

Q) You are claiming state and federal nonbankruptcy exemptions, 11 U.S.C. § 522(b)(3)
Mi You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
i 11 USC 522(d) (2
Grief 2002 Buick $ 2,000.00 WZ s 2,000.00 (d) (2)
description: a fa ie 3 a
nee C} 100% of fair market value, up to
3.41 any applicable statutory limit 2 —

Schedule A/B:

 

 

i 11
Bret Household furnishings 5 2,000.00 gs 2,000.00 USC 522 (d)(3)
description: fa EE a
isigagien C} 100% of fair market value, up to
Schedule A/B: 6__ any applicable statutory limit _ ee
Brief Clothes § 500.00 Ws 500.00 11 USC 522 (d)(3)
description: = — _ =
Line from QO) 100% of fair market value, up to
Schedule A/B:; 11 any applicable statutory limit a

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

Y No

C) Yes. Did you acquire the property covered by the exemption within 7,215 days before you filed this case?

Ci No
QO) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1of__
we gy a”

 

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*
?

 

Debtur 1 Tory

Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 12 of 37

Danielle

_ Gray

 

First Namo:

Maddie Namo Last Name

Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from
Schedule A/B:

Brief
descriplion:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Official Form 106C

Current value of the
portion you own

Copy the value from

Case number (¢anewny

Amount of the exemption you claim Specific laws that allow exemption

Check only one box for each exemption

11 USC $22 (d)(4)

 

C) 100% of fair market value, up to
any applicable statutory limit

11 USC 522 (d)(5)

 

C) 100% of fair market value, up to

11 USC 522 (d)(5)

 

 

 

©) 100% of fair market value, up to
any applicable statutory limit

11 USC 522 (d)(5)

CI 100% of fair market value, up to

 

 

(J 100% of fair market value, up to

 

2 100% of fair market value, up to

 

 

C} 100% of fair market value, up to

 

 

(J 100% of fair market value, up lo

 

) 100% of fair market value, up to

 

 

QO) 100% of fair market value, up to

 

(3 100% of fair market value, up to

Schedule A/B
Ring $ 500.00 Js 500.00
12
cash $ 50.00 Ws 50.00
16 any applicable statutory limit
Savings account $ 0 Gs 0
i?
Tax Refunds $ 7,600.00 5 7,600.00
28
_— any applicable statutory limit
$ Os
any applicable statutory timit
$ C]s
—_——_ any applicable statutory limit
$ Cis
— any applicable statutory limit
s Os
any applicable statutory limit
$ Qs
—_ any applicable statutory limit
. $ Os
— any applicable statutory limit
$ Qs
any applicable statutory limit
$ Cis

 

 

C3 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt page 2_ of __
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19

Fillin this information to identify your case:

 

Page 13 of 37

FILED

Debtor 1 Tory Danielle Gray
First Name ‘Middie Name Last Kame
lees ting FirstName a Middie Name —_ Last Name 7 2019 NOY 20 PH 3 b5

United States Bankruptcy Court for the: Western District of Michigan

Case number
(iP known)

briciiys

 

Dr Ohi CLERK

 

Official Form, 106D

Schedule D: Creditors Who Have Claims Secured by Property

ee WESTERH p) ARUP] “RRA k if this is an
ne [ OT pRt
IERA DIST, oF MICH nded filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1, Do any creditors have claims secured by your property?

WA No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

C) Yes. Fill in all of the information below.

ia List All Secured Claims

 

 

 

 

; Column A Column B Column C
2. List all secured claims, If a creditor has more than one secured claim, list the creditor separately Amount of claim Value of collateral Unsecured
for each claim, If more than one creditor has a particular claim, list the other creditors inPant2. oe not deduet the that supports this portion
As much as possible, list the claims in alphabetical order according to the creditor's name. Valllaof collateral, claim ifany
[ 2.1] Describe the property that secures the claim: S _ $ _ $_ _
Creditors Name : :
Number Street 7 —
As of the date you file, the claim is; Check all that apply.
QO Contingent
CQ) Unliquidated
City State ZIP Code Q disputed
Who owes the debt@gpheck one, Nature of lien. Check all that apply,
Gf Debtor 1 only &J An agreement you made (such as mortgage or secured
CY Debtor 2 only car loan)
(J Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic's lien)
LJ Atleast one of the debtors and another CF Judgment lien from a lawsuit
C1) other (including a right to offset) _
O) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number oo
[ 2. 2| Describe the property that secures the claim: $ $ : $

Crecitor's Name

Number Street

City “Slate ZIP Cade

Who owes the debt? Check one
C)
QO
oO
O

QO

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

Atleast one of the debtors and another

Check if this claim relates toa
community debt

Date debt was incurgd

Official Form 106D

Add the dollar value of your arise ae Column A on this page. Write that number here:

Schedule D: Creditors Who Have Claims Secured by Property

As of the date you file, the claim is: Check all that apply
Q) Contingent
CY Untiquidated

L) pisputed
Nature of lien. Check all that apply.
LJ) An agreement you made (such as morlgage or secured

car loan)
| Statutory lien (such as tax lien, mechanic's lien)
O Judgment lien from a lawsuit
LY Other (including anghtto offset)

Last 4 digits of account number

page 1 of 2.
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 14 of 37

UMUC Rolie tn Coe sance) Lett EL

Bieter’ Tory Danielle , _ : | _ F Le - fh

First Name Aikidle Marne

 

4

 

Debtor 2

 

(Spouse, if filing) First Name Middle Name Last Name. a 2019 NOY 20 PH 3: &5

United States Bankruptcy Court for the: Western District of Michigan

  

 

 

 

: , MICHEL & b+. Sheck if this is an
ase number : ii RAL i, Ve ended filing
(i hnown) i A CrayvA “
5, BA uv! COU

WESTERN DIST, OF MICHIGAN

 

Official Forn®106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible, Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. Cn the top of
any additional pages, write your name and case number (if known).

 

 

List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
GA No. Go to Part 2,
Ch ves.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim itis. If a claim has both priority and nonpriority amounts, list thal claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

Total clalm Priority Nonpriority
amount amount
21
Last 4 digits ofaccountnumber __ $ a a ak
Priority Creditar's Name
When was the debt incurred? aac
Number Stress:
— — As of the date you file, the claim is: Check all that apply
cy State ZIP Code 1 Contingent 7
Q) Uniiquidated
Who incurred the debt? Check one. Tessistes
Q) Disputed
) Debtor 1 only
QO) Debtor 2 only Type of PRIORITY unsecured claim:
ee Debtor 1 and Debtor 2 only LY pomestic support obligations
LJ At least one of the debtors and another 7 .
i LI Taxes and certain other debts you owe the government
Q) Check if this claim is for a community debt (J Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
C0] No Q) other. Specify = us -
C) Yes
2 | Last4 digits ofaccountnumber 5 $ $

 

 

Priority Creditors Name — -
When was the debt incurred?

 

Number ‘Street 7
As of the date you file, the claim is: Check all that apply
| Contingent

City State ZIP Code i Unliquidated

Who incurred the debt? Check one. OF disputed

OQ} Debtor 4 only

Q) Debtor 2 only

C) Debtor 1 and Debtor 2 only

(] Atteast one of ~ 4ebtors and another

Type of PRIORITY unsecured claim:
C) domestic support obligations

(J Taxes and certain other debts you owe (he government

OQ check if this lam is for a community dabt | oa or personal injury while you were

Is the claim subject to offset? QO) Other. Specity sa ee
CI No

C) Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page tof
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Bue

ae ae

Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 15 of 37

Tory Danielle

Oebtur 1

Gray _

_. Case number (faman)

 

Fst Name Muscle Name

Pia Your PHIORITY Unsecured Claims — Continuation Page

Las Name

 

 

 

 

ee
Peek ai oor

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

QO) Debtor 1 only

Q Debtor 2 only

OQ Debtor 1 and Debtor 2 only

CQ) Atleast one of the debtors and another

Q Check if this claim ts for a community debt

Is the claim subject to offset?

O1 No
Q Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim Priority Nonpriority
amount amount
Last 4 digits of accountnumber CS $ $.
Pnonty Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check alt that apply.
Q Contingent
Cay State ZIP Coda 2) Untiguidated
Q Disputed
Who incurred the debt? Check one.
C) Debtor 1 only Type of PRIORITY unsecured claim:
C1 debtor 2 only (3 Domestic support obligations
CJ Debtor 1 and Debter 2 only .
(3 Taxes and certain other debts you owe the government
QO Atteast one of the deblors and another : ; . ,
(2 Claims for death or personal injury while you were
CQ) check if this clalm Is for a community debt intoxicated
Q other. Specify .
Is the claim subject to offset?
1 No
QO ves ‘
@ Last 4 digits of accountnumber $ $ $
Prierity Creditar's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code 1 untiquidated
QO) Disputed
Who incurred the debt? Check one.
C) Debtor 1 only Type of PRIORITY unsecured claim:
4 Debtor 2 only OQ Domestic support obligations
QO Debtor 1 and Debtor 2 only CQ) Taxes and certain other debts you owe the government
At least one of the debtors and another © Claims for death or personal inury while you were
Q Check if this claim is for a community debt intoxicated
O other. Specify
Is the claim subject to offset?
OQ No
O1 Yes _— eee een tee ee ene
Last 4 digits of accountnumber $ $ $
Prianty Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
e Q Contingent
ay State___ZIP Coro O  Untiquidated

Q Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated cee cee

Other. Specify

OD ooo

 

page of
ee 5 ae

Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 16 of 37
Debtor 1 Tory Danielle Gray

_ Case number (J ancwn)
Fast Namo Middle Name Last Name

 

 

feu List All of Your NONPRIORITY Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?

(C} No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has .ore than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

Total claim

ke] AAA Credit Union Last 4 digits of account number _3_ & 2 3 1,000.00

Nonpriority Creditors Name LHe

904 Broadway When was the debt incurred?
‘ Number Street

Grand Rapids, Mi 49504

City State ZIP Code = ~=~—s As. of the date you file, the claim is: Check all that apply.

OQ Contingent
9

Who incurred the debt? Check one. QO) unliquidated

 vebtor 1 only oO Disputed

OQ vebtor 2 only

Q Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:

D2 Atleast one of the debtors and another O) student toans

© Check if this claim is fora community debt QO Obligations arising out of a separation agreernent or divorce

that you did not report as priority claims

Is the claim subject to offset? ©) Dents to pensicn or profit-shanng plans, and other similar debts

OQ No @ other. Specity loan

0) ves
k2 | Afni Inc Last 4 digits of account number Tf A 5 3 gs —«167.00

Nonprionity Creditor’s Name When was the debt incurred? 12/13/2018

404 Brock Dr.

Number Street

Bloomington iL 61701 As of the date you file, the claim is: Check all that apply.

City State ZIP Code Oo Contingent

Who incurred the debt? Check cne. C2 untiquidated

W1 Debtor 4 only C) disputed

0) Debtor 2 ont

a Deter 1 od Debtor 2 only Type of NONPRIORITY unsecured claim:

C1 At teast one of the debtors and another C3 Student toans

@ QO Obligations arising out of a separation agreement or divorce

OQ Check if this claim is for a community debt that you did not report as priority claims

Is the claim subject to offset? O betts to pension or profit-sharing plans, and other similar debts

QO No ( Other. Specify

Q ves _
ks | Ameri Collect Inc _ Last 4 digits of accountnumber ___ ee $ 511.00

 

Nonpricrity Creditor's Name

When was the debt incurred? 201 5-2016
1851 South Alverno Rd ara

 

 

Number Strect
Manitowoc Wi §4220
3 « al .
oy sun Fb Core As of the date you file, the claim is: Check ail that apply.
Q Contingent
Who incurred the debt? Check one.
ol OQ Untiquidated
Debtor 1 only © disputed

Q Debtor 2 only

Q) Debior 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C2 atleast one of the debtors and another
C2 student ioans

O Check if this claim is for a community debt Q) obigations arising out of a separation agreement or divorce
that you did not report as prionty claims
QO debts to pension or profit-sharing plans, and other similar debts

@ Other. Specify Medical #0195,8270,2912

Is the claim subject to offset?
QO No
QO) Yes

Officia! Form 106E/F a Schedule E/F: Creditors Who Have Unsecured Claims page__of__
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Debtor 1 Tory Danielle Gray Case number (#inean)___
Fest Name NMcdta Name Last Nene
CRN
Your NONPRIORITY Unsecured Claims — Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
A
BPW Last 4 digits of account number 7 4 1 9° g 408.64.
Nonprionity Creditor's Name 2 16 12 01 8
: ?
625 Hastings Ave When was the debt incurred?
Mumber eet As of the d file, the claim is:
Holland MI 49423 Ss of the date you file, the claim is: Check all that apply.
City State ZIP Code 2 Contingent
QO unliquidated
Who incurred th? debt? Check one. Q oisputea
@ Debtor 1 only
O) Debtor 2 onty Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only CQ) Student toans
Atleast one of the debtors and another Q1 Obtigations arising oul of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did not report as Prority claims .
QO Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? @ otner. Specify_utility
Q No
O ves
5 |
I Best Buy Last 4 digits of account number 3 5S 3 5 $ 1,363.00
Nonpztiority Creditor's Name
When was th incu: 12/18/2014
701 East 60th St the debt incurred?
Number Street
Sioux Falls SD 57104 As of the date you file, the claim is: Check all that apply.
iy State ZIP Code OQ Contingent
C) Untiquidated
Who incurred the debt? Check cne. OQ) bisputed
&4 Debtor 1 only
C Debter 2 only Type of NONPRIORITY unsecured claim:
Q Debtor 1 and Debtor 2 onty O) student toans
C1 Atteast one of the deblors and another Q) Obligations arising out of a separation agreement or divorce that
4, you did not report as priarity claims
claim Is f i
C1 Check if this Plaim Is for a commun ty debt QO) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? F other. specity_credit card
QO No
QO) ves
[6 | 5 587.00
igi 78 0 5 —————
Capital One Last 4 digits of accountnumber (§§ 98 Vo oo
Nonpriority Creditors Name
Whe i 1/9/2012
P.O. Box 85015 n was the debt incurred?
Number Street
‘ f im is: Ch M1 thy .
Richmond VA 23285 As of the date you file, the claim is: Check all that apply
City State ZIP Code: C) Contingent

Official Form 106E/F

Who incurred the debt? Check one.

MS Debtor 1 only

O Debtor 2 only

CQ) Debtor 1 and Debtor 2 only

CQ) At least one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?

QO No
QO ves

Schedule E/F: Creditors Who Have Unsecured Claims

2 Untiquidated
C) disputed

Type of NONPRIORITY unsecured claim:

(2 Student toans

Q Obligalions arising out of a separation agrecment or divorce that
you did nat report as priority claims

) Debts to pension or profit-sharing plans, and other similar debts
@ Other. Specity

page__of
Oebtor 1

Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 18 of 37

Danielle

T8ry

Gray

 

Fest Name Madde Name

Last Name

Case number (1 xncan)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

7

 

 

 

Comenity Lane Bryant

 

Nonprionty Crediter’s Name

P.O. Box 182789

 

Number Street

Columbus OH

 

City State

Who incurred the debt? Check one.

VW Debtor 1 only

CQ Debtor 2 only

Q Debtor 1 and Debter 2 only

© Atteast one of the debtors and another

Q) Chock if this claim is for a community debt

Is the claim subject to offset?

0 No
3 ves @

43218

“2P Coto

 

Comenity Victoria Secret

 

Nonpricrity Creditors Name

P.O. Box 182789

 

Number Strect

Columnus OH

43218

 

Cry State

Who incurred the debt? Check one.

&d Debtor 1 only

C) debtor 2 only

Q) Debtor 1 and Debtor 2 only

CJ Atteast one af the debtors and another

QO) Check if this claim is for a community debt

ts the claim subject to offset?

QC No
QO ves

ZIP Code

 

Official Form 106E/F

Franktin Collection

 

Nonprionity Creditor's Name

2978 W. Jackgon St.

 

Number Street

Tupeto mS

38803

 

City State

Who incurred the debt? Check ane.

G4 Debtor 1 onty

Q) Debtor 2 onty

C) Debtor 1 and Debtor 2 only

CQ) Atteast one of the debtors and another

C) Check if this claim is for a community debt

fs the claim subject to offset?

OO) No
CY ves

ZIP Code

Total claim
Last 4 digits of account number ft 8 oO oO $ 1,122.00
When was the debt incurred? 4/15/2013
As of the date you file, the claim is: Check all that apply.
QO Contingent
Q Unliquidated
QO Disputed
Type of NONPRIORITY unsecured claim:
QO Student toans
Q Obligalions arising out of a separation agreement or divorce that
you did not report as prorily claims
O Debts to pension or profit-sharing plans, and other similar debts
@ other. Specify credit card
Last 4 digits of account number 5. 6 3) a s 220.00
When was the debt incurred? 12/2112013
As of the date you file, the claim is: Check all that apply.
O Contingent
OQ untiquicated
QO Disputed
Type of NONPRIORITY unsecured claim:
OQ Student toans
Q Obtigations arising cut of a separation agreement or divorce lhat
you did not report as priorily claims

O) debts to pension or profil-sharing plans, and other similar debts
@ other. specify credit card

5 _ 859.00
Last 4 digits of accountnumber 3 1 6 O
When was the debt incurred? 14/16/2018

As of the date you file, the claim is: Check all that apply.

O Cantingent
Q Uniiquidated
Q) disputed

Type of NONPRIORITY unsecured claim:
C) student taans

Q Obligations arising out of a separation agreement or divorce that

you did not repart as pnority claims

QO) Debts to pension ar profil-shanng pians. and other similar debts

¥@ Other. Specify. AT&T

Schedule E/F: Creditors Who Have Unsecured Claims

page __of__
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Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 19 of 37

Debtor 1 Tory Danielle Gray

Fest Narra Medie Name Last tisme

Cass number (farcany |

 

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
10 . i 8 3 8 5
Holland Hospital Last 4 digits of account number 9 Yo 9 9) $ 15.97
Nonpriority Creditor's Name
P.O. Box 772123 When was the debt incurred? 2/712019
Number Street a
Detroit MI 48277 As of the date you file, the claim is: Check all that apply.
Cay State ZiP Codon O} Contingent
O) unliquidated
Who incurred the debt? Check one. OQ bisputed
@ Debtor 1 only
OQ Debtor 2 only Type of NONPRIORITY unsecured claim:

Q Debtor 1 and Debtor 2 only

2 student toans
© Atleast one of the debtors and another

Q Obligations arising out of a separation agreement or divarce that
you did not repart as priority claims

O Check if this claim is for a community debt ae .
OQ bets to pension or profit-sharing plans, and other similar debts

 

 

 

 

 

Is the claim subject to offset? other. Speaty medical
CQ} No
C ves
[11 |
Huntington Bank Last 4 digits of account number 7 2) TT A $ 1330.00
Nonprionty Creditor's Name 3/1/2019
7 Easton Ave EA4W56 When was the debt incurred? oS
Number Street +
Columbus OH 43219 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent
Q Untiquidated
Who incurred the debt? Check cne. QO osputed
Gd Debtor 1 only
C2 Debter 2 onty Type of NONPRIORITY unsecured claim:
CJ Debtor 1 and Debtor 2 only D Student toans
Q) Atleast one of the debtors and another 2 Obiigations arising out of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did not report as prority claims .
CY debts to pension or profit-sharing plans, and other similar debts
ts the claim subject to offset? if Other. Specify bank
QO No
ves
112] 5 576.49

instant Cash Kdvance Last 4 digits of account number _3_ 3 2 2 TO

Nonpriarity Creditor's Name

 

; 5/22/2019
3310 65 Douglas Ave When was the debt incurred? 9 ~'<<'

 

 

Hollen d Street MI 49424 As of the date you file, the claim is: Check all that apply.
City State 21P Code Q Contingent
Q Unliquidated
Who incurred the debt? Check one. QO Disputed
J Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:

QO) debtor 14 and Debtor 2 only

QO) Student toans
(2 At teast one of the debtors and another

Q Obligations arising out of a separation agreement cr divorce that
you did not report as priority claims

Q debts to Penston or profit-sharing plans, and other similar debts

Is the claim subject to offset? @ other. Specify AT&T

Q No

QO Yes

O) Check if this claim is for a community debt

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__of__
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 20 of 37

 

   

 

 

 

Debtor 4 a Tory Danielle _ Gray Case number (¢ cer) a _
First Name Maidie Name Last Name
Your NONPRIORITY Unsecured Claims — Continuation Page
Se
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, ard so forth. Total claim
JC Penney a Last 4 digits of account number Oo 8 8 9 $_ 708.00

Nonprorty Creditors Name : 12/24/2012

4125 Windward Plaza When was the debtincurred? 2 <'@ GN TE

Number Steet a ; ae

Alpharetta GA 30005 As of the date you file, the claim is: Chock all that apply.

City Oo ss State ”*«2P ode CJ Contingent

_ QO Uniiquidated
Who incurred the debt? Check one. O} disputed

A Debtor 1 only
QO) Debtor 2 only Type of NONPRIORITY unsecured claim:
CY Debter 1 and Debtor 2 only

CJ Student loans
LI Atteast one of the debtors and another

C) Obligations arising oul of a separation agreement or divorce thal

C) Check if this claim is for a community debt SERS CIE OS TAROREBS, DUROPITY SAEs

 

 

 

 

 

CO Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? wf Other. Specify__ _
QC) No
C) Yes
6 2 9 6 4
Kay Jewelers _ Last 4 digits of account number ace $ 1024.00
Nonprionty Creditors Fame | 4 2/4 5/20 1 4
When was the debt incurred?
375 Ghent Rd. =
Number Street a
As of the date you file, the claim is: Check all that apply.
Akron OH 44333 ¥ Se ER
City ~ - a State a ZiP Code a: QO Contingent
LO Unliquidated
Who incurred the debt? Check one, ( Disputed
bd Debtor 1 only
O) Debtor 2 only Type of NONPRIORITY unsecured claim:
= Debtor 1 and Debtor 2 only G) ‘Studentigans
At least one of the debtors and another CL) Obligations arising out of a separation agreement or divorce that
O} Check if this claim is for a community debt qou GSR ROpON ae Peloton
LI Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? af Other. Specify. = “
U No
QO) ves
s 577.00
Kohls Last 4 digits of account number 3 3 ; Oo 5
Nonpronty Creditors Name a
When was the debt incurred? 12/11/2014
P.O.Box 3115 eee
Number Street
i As of the date you file, the claim is: Check all that apply.
Milwaukee WI 53201 * “ ee
City State ZIP Code” oO Contingent
QO Uniiquidated
Who incurred th@ debt? Check one. C) disputed
G4 Debtor 1 only
CO) Debtor 2 only Type of NONPRIORITY unsecured claim
2 Debtor 1 and Debtor 2 only O) Student tans
Atleast one of the debtors and another ) Obligations arising out of a separation agreement or divorce that
Q) Check if this claim is for a community debt you did not report as prionty claims
QC) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? * Other. Specify_ ee
OC) No
QO ves

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__of__
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 21 of 37

Tory

~~ Middle Name

Danielle

~ Lasihame

Debtor 1

First wame

Gray _

Case number (if known}

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

-16

 

 

 

KMO Prestige Cascade Apartments

Nonpriorty Crecitor's Name

13646 Cascade Dr.
Nurmnber 7 Street -
Holland MI
Ciy ag State

 

 

 

49424

ZIP Code

Who incurred the debt? Check one.

Wd Debtor 1 only

C) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

0) Check if this claim is fora community debt

Is the claim subject to offset?

O No
QO Yes

Linebarger Goggan
Nonpriority Creditors Name a

P.O. Box 06152

 

 

 

Number Streat
Chicago IL

c iy Stale

60606

 

Who incurred the debt? Check one.

&4 Debtor 1 only

QO) Debtor 2 only

C) Debtor 1 and Debtor 2 only

LI Atleast one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?

No
O) ves

Mercury Card

ZiP Code

 

Nonprionty Creditors Name

700 22nd Ave South

Number Street

Brookings SD

 

57006

 

chy Stato ZIP Code

Who incurred the debt? Check one.

G4 Debtor 1 only

C) debtor 2 only

C) Debtor 1 and Debtor 2 only

(J At teast one of the debtors and another

QO) Check if this claim is for a community debt

Is the claim subject to offset?

OC) No

QO) ves
q

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

When was the debt incurred?

Last 4 digits of account number 3 6 4 6 § 2600.03
When was the debt incurred? 2/8/2014 9 =
As of the date you file, the claim is: Check all that apply.
CG Contingent
Q) Unliquidated
QO Dispuled
Type of NONPRIORITY unsecured claim:
O) Student toans
| Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
CO Debts to pension or profit-sharing plans, and other similar debts
af other, Specify eviction a
Last 4 digits of account number 2 3 8 3 $ 244.00
When was the debt incurred? 10/10/2009
As of the date you file, the claim is: Check all that apply.
QO Contingent
CY Untiquidated
Q Dispuled
Type of NONPRIORITY unsecured claim:
OY Student loans
O Obligations arising oul of a separation agreement or divorce that
you did nol repor. as priority claims

L) Debts to pension or profit-sharing plans, and other similar debts
@ Other. Specify —

; 1911.00
Last 4 digits of account number 3 2) 2 2

9/25/2014

As of the date you file, the claim is: Check all that apply

Q Contingent
QO Uniiquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

Sludent loans

Obligations arising out of a separation agreement or divorce that
you did not report as pnority claims

Debts to pension or profit-sharing plans. and other similar debts
Other, Specify

@O OO

page of
wwe

Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 22 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Tory Danielle Gray _ Case number ttinowny ——..
Fest Namo @ Ridéic Name Last Name
= REA
Your NONPRIORITY Unsecured Claims — Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim —
19) Last 4 digits of ber 7 8 6 8
Midland Funding as gits ofaccountnumber §§ 98 BD 9 $ 635.00
Nonprtority Creditor's Namo 11/30/2017
. . i ?
2365 Northside Dr Suite 300 When was the debt incurred?
miner weet - | AB of the date you file, the ctaim is: Check all that appl
San Diego CA 92108 s of the date you file, the claim is: Check all that apply.
Cry State ZIP Code ~~ QO Contingent
OQ) uniiquidated
Who incurred the debt? Check one. QO Disputed
(4 Debtor 1 only
0) debtar 2 only Type of NONPRIORITY unsecured claim:
0 Oebtor 1 and Debtor 2 only O) student toans
At least one of the debtors and another QO Obligations arising oul of a separation agreement or divorce that
O) Check if this claim is for a community debt you did not report as priority claims
Q bebts to pension or profit-sharing plans, and other similar debts
ts the claim subject to offset? Mf other. Specify_retail
C1 No
Q Yes
a Mk me Fe i cay. . me Se ne a reer ee a ee ae oe et
.20
Midland Funding _ Last 4 digits of account number 7 | a oO 6 $ 386.00
Nonpricrity Crediter's Name
. . Wh the debti a7? 12/28/2017
2365 Northside Dr. Suite 300 en was the debtincurred?
Number Street : .
San Diego CA 92108 As of the date you file, the claim ts: Check all that apply.
City Stato ZiP Code © Contingent
QO Unliquidated
Who incurred the debt? Check ene. O ocisputea
04 Debtor 1 only
2] Debtor 2 only Type of NONPRIORITY unsecured claim:
QO) Debtor 1 and Debtor 2 only Q student loans
C¥ Atteast one of the debtors and another C1 Obligations arising out of a separation agreement or divorce that
you did nat report as priority claims
C1 Check if this clalm is for a community debt QO Debts to pensicn or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ Other, Specify
O No
1) ves
121 | 0 4 5 2,950.00
NC13 Management Services Inc Last 4 digits of accountnumber Yo 4
Nonprionty Crediler's Namo
When was th 422/201
2517 54th St.N. n was the debt incurred?
Number Street
A As of . im is: Ch 11 that apply.
Sioux Falls a SD 57104 of the date you file, the claim is: Check all that apply
tay State ZIP Cade O21 Contingent
O) unliquidated
Who incurred the debt? Check one. OQ) disputed
§4 Debter 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:

C Debter + and Debtor 2 only

(J student toans
(J At teast one of the debtors and another

Q Obligations ansing out of a separation agreement or divorce that
you did not report as priorily claims

C) Debts to pension or profit-sharing plans, and other similar debts

is the claim subject to offset? @ Other. Specify

OQ No

OQ Yes

OC) Check if this claim is for a community debt

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page __ of
Debtor 4

Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 23 of 37

Tory Gray

Fleat Name

Danielle

Maddie Name Tost Nata

Case number yt known)

fa Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Official Form 106E/F

Portfolio Recovery Associates
Nonpnority Creditors Name

120 Corporate Blvd

Numbers Street

Norfolk

city

 

VA

State

23502

ZIP Code

Who incurred the debt? Check one.

ta Debtor 1 only

C) Debtor 2 only

L Debtor 1 and Debtor 2 only

(C) Atleast one of the debtors and another

g
UO Check if this claim is for a community debt

Is the claim subject to offset?

UO No
CI) ves

Plain Green Loans

Nonpriority Creditor's Name

P.O.Box 270
Number Street
Box Elder / MI

City State

 

 

 

59521

ZIP Code

Who incurred the debt? Check one.

&4 Debtor 1 only

Q) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

LI Atleast one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?
LI No
C} Yes

—_- ent stich

Progressive Leasing

Nonpnorty Creditors Name
256 Data Dr.

Number
Draper

City State

 

Street

84020

ZIP Code

 

Who incurred the debt? Check one.

4 Debtor 1 only

QO) Debtor 2 only

O) Debtor 1 and Debtor 2 only

Q) Atteast one of the debtors and another

( Check if this claim is for a community debt

Is the claim subject to offset?

OQ) No
O) ves

Last 4 digits of account number a 8 oO 5

1/22/201 8

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

| Contingent
oO Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

Student loans
Obligations arising out of a separation agreement or divorce that
you did not report as pnority claims

Cebts to pension or profil-sharing plans, and other similar debts
Cther. Specify banking _ :

@®O OO

Last 4 digits of account number 4 9 5 A
When was the debt incurred? 4/6/2018

As of the date you file, the claim is: Check ali that apply.

Q Contingent
Q Uniiquidated
O Disputed

Type of NONPRIORITY unsecured claim:

QC) Student foans

O Obligations arising oul of a separation agreernent or divorce that
you did not report as priority claims

U) Debts to pension or profit-sharing plans, and olher similar debts

if other. Specify loan

6 2

Last 4 digits of account number 1 1

2/9/2019

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

Q Contingent
O Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

QQ student loans

Q Obligations arising oul of a separation agreement or divorce that
you did not report as priority claims

OQ debts to pension or profit-shanng plans, and other similar debts

f Other. Specify loan

Schedule E/F: Creditors Who Have Unsecured Claims

 

Total claim

s 2,411.0

¢ 2,850.15

5 2,120.00

page__of__
 

 

 

 

Case:19-04876-jwb Doc #:1-1

 

Filed: 11/20/19 Page 24 of 37

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 4 Tory Danielle Gray Case number (itimown)
Fost Name Middio Name Last Name ce eee
eae: Your NONPRIORITY Unsecured Claims — Continuation Page
: After listing any entfles on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
28
RMP Last 4 digits of accountnumber 6 30 7 5 ¢__ 266.06
Nonpriority Creditor's Name 4 /1 0 4201 9
8155 Executive Ct. Suite 10 When was the debtincurred? 2 nn
Number Street ee
Lansing MI 48917 As of the date you file, the claim is: Check all that apply.
Giy State ZIP Coda C) Contingent
QO) untiquidatea
Who incurred the debt? Check one. OQ) cisputed
{A Debtor 1 only
O) Debtor 2 onty Type of NONPRIORITY unsecured claim:
0 Debtor 1 and Debtor 2 anly O) Student toans
At least one of the deblors and another OQ Obligations arising out of a separation agreement or divorce thet
O Check if this claim is for a community debt you did not report as priority claims _
CD debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specify_ Medical
QD wo
Q ves
[26 |
l The Cash Store Last 4 digits of account number 8 20 4 Oo. $ 676.00
Nonpriority Creditor's Name
When w 1/9/2019
12465 JameSSt Ste 2 en was the debt incurred? _
Number Street ; Ch,
Holland Mi 49424 As of the date you fite, the claim is: Check all that apply.
Cay State ZiP Code O entingent
OQ) unliquidated
Who incurred the debt? Check one. Q disputed
Ad Debtor + only
Q Debter 2 onty Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only QO student toans
At least one of the debtors and another Q1 cbiigations arising out of a separation agreement or divorce that
O Check if this claim is for a community debt Q you did not report as pronty claims a
Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? @ other. specify cash advance
QO) No
O Yes
127 | 5 214.31
Transworld Systems Last 4 digits of account number 2. 5. A o
Nonprianty Creditor’s Name 2/6/2018
500 Virginia Dr Ste 514 When was the debt incurred?
Number Sueet soe
Ft. Washington PA 19034 As of the date you file, the claim is: Check all that apply.
City State ZIP Code QO centingent

Official Form 106E/F

Who incurred the debt? Check ane.

@ Debtor 1 only #

(2 Debtor 2 only

© Debtor 1 and Debtor 2 only

Q) Atleast one of the debtors and another

C) Check if this claim is for a community debt

is the claim subject to offset?
QO No
QO ves

Schedule E/F: Creditors Who Have Unsecured Claims

Q Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

) Student ioans

QO Obligations arising cut of a separation agreement or divorce that
you did not report as pnority clams

OQ) Debts to pension or profit-shanng plans, and other simidar debts

@ oiher. Specity_utility

page__ of __
 

 

 

 

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Official Form 106E/F

 

 

 

Who incurred the debt? Check one.

hd Debtor 1 only

Q Debtor 2 only

O] Debtor 1 and Cebtor 2 only

C) At feast one of the debtors and another

CI Check if this claim is for a community debt

is the claim subject to offset?
QO No
CQ] ves

Schedule E/F: Creditors Who Have Unsecured Claims

Debtor 1 Tory Danielle Gr ay Case number (tsrcsny eee ee
First Name Mace Nome Last Namo
Your NONPRIORITY Unsecured Claims — Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Tatal claim
28 i j Last 4 digits of number 3) 7 6 5
Vanhill Furniture gits of accountnumber ~  S = 5 _ 379.96
Nonprionty Creditar's Name 2 {1 /201 7
. Wh
10880 Chicago Dr. en was the debt incurred?
Number Street — .
Zeeland MI 49464 As of the date you file, the claim is: Check all that apply.
oy State ZIP Gode ~ C1 Contingent
QO) unliquidated
Who incurred the debt? Check ane. Q) ocisputed
CH Debtor 1 only
O Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O student toans
Ai least one of the debtors and another CY Obligations arising out of a separation agreement or divorce that
O Check if this claim is for a community debt you did not report as prcnty claims .
O cebts to pension ar profit-sharing plans. and other similar debts
Is the claim subject to offset? @ otner. specity_ credit
O) No «
O) ves
.29 |
{ Verizon Wireless Last 4 digits of accountnumber 9 1 1 = O $ 1,976.00
Nonprionty Crediter’s Name
Wh 6/17/2018
P.O.Box 96055 en was the debt incurred?
Number Street
Minneapoli Ss MN 55426 As of the date you file, the claim is: Check ali that apply.
Gy State ZIP Cove QO) Contingent
OQ) uniiquisatea
Who incurred the debt? Check one. © oisputed
&J Debtor 1 only
O) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtar 2 only O) student toans
Atleast one of the debtors and another Q Obtigations arising out of a separation agreement er divarce that
O) Check if this claim is for a community debt you did not report as Patonity claims .
QO) debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ othe Specity
Q) No
QO Yes
|_| s
: Last 4 digits of account number
Nonprionty Crediter‘s@game
When was the debtincurred? — sss
Number Ss ~~
vm treet As of the date you file, the claim is: Check all that apply.
City State ZIP Code QO Contingent

O Untiquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

2 student toans

Q Obligalions arising out of a separation agreement or divorce that
you did not report as priority claims

QC) vetts to pension or profit-shanng plans, and other similar debts
€ Other. Specify.

page of_
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 26 of 37

Debtor 1 Tory

Fest Name Middle Name

List Others to Be Notified About a Debt That You Already Listed

Danielle

Gray

Last Name

Case number (2 sevany

 

 

Ss. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Simitarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured Claims
a ~ Last4 digits of accountnumber—
ay State AP Code . _ , ce ne re
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Pari 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccount number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one}: ) Part 1: Creditors with Priority Unsecured Claims
Number Street O) Part 2: Creditors with Nonpriority Unsecured
Claims
_ Last 4 digits of account number __ oe
ROM ee State IP Cote ee - cae ee ee ee
On which entry in Part 4 or Part 2 did you list the original creditor?
Namo
Line of (Check one): Q) Part 1: Creditors with Priority Unsecured Claims
Number Street ~ Q) Part 2: Creditors with Nonpriority Unsecured
Claims
a
Last 4 digits of accountnumber—
City Sate ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name ~
Line of (Check one): Part 1: Creditors with Priority Unsecured Claims
Number Steet ” - ) Part 2: Creditors with Nonpriority Unsecured
Claims
Last4 digits of accountnumber_—
City State ZiPCode
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Q Part 1: Creditors with Priority Unsecured Claims
Number Street C Part 2: Creditors with Nonpricrity Unsecured
Claims
Last4 digits of accountnumber
City State ZIP Code
x On which entry in Part 1 or Part 2 did you list the original creditor?
aM
_ Line of (Check one}: LC) Part 1: Creditors with Prionty Unsecured Claims
N Stree . . oo
umber treet QO) Part 2: Creditors with Nonpriority Unsecured
Claims
* Last 4 digits of tnumb
Tinto ZIP Code asi gits of account number ___ _

City

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims page __ of __
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 27 of 37
Debtor 4 Tory Danielle Gray

Case number (4 ancen),
First Name Mcdie Name Lost Nano

CREE.

Add the gmounts for Each Type of Unsecured Claim

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

 

 

 

Total claim
Total claims 6a. Domestic support obligations 6a. S_ 0
from Part 1 6b. Taxes and certain other debts you owe the
government 6b. $ 0
6c. Claims for death or personal injury while you were
intoxicated 6c. $ 0
6d. Other. Add all other priority unsecured claims.
Write that amount here. bd. 4, 0
6e. Tatal. Add lines 6a through 6d. 6e. 0
$
« Total claim
Total claims 6f. Student loans 6f. $ 0
from Part 2 6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority 0
claims 6g. $s
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. og 0
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. Gi. +5 31,213.57
6j. Total. Add lines 6f through 6i. 6j.
5 31,213.57
a

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page __of
Case:19-04876-jwo Doc #:1-1 Filed:

Fill in this information to identify your case:

 

 

Bebiay Tory _ Danielle Gray
“Fucthiame Middle Name Lact Nar

Debtor 2

(Spouse If filing) First Name Middle Name Laat Nae

United States Bankruptcy Court for the: Western District of Michigan

Case number
(IF known)

11/20/19 Page 28 of 37

FILED

20I9NOV.20 PH 3: 45

nee ILSOH, CLERK
l ARUPTCY come:
WESTERN p DIST OF (on if this is an

ended filing

itl, if

 

Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases

42/15

 

Be ss complete and gccurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

(1 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form,

Mi Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106AVB).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and

unexpired leases.

Person or company with whom you have the contract or lease

2.1 Progressive Leasisng

Name

256 Data Dr

Street
UT 84020
State ZIP Code

Number
Draper
City

 

2.2

Name

 

Strom

Number

 

oo Eilty State ZIP Code
23

Name

 

Number Street

 

City State ZIP Code

24

 

Name

 

Number Street

 

City Slate ZIP Code

2.5

 

Name

 

Number Street

City Slate ZIP Code

Official Form 106G a

Schedule G: Executory Contracts and Unexpired Leases

State what the contract or lease is for

furniture

page tof
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 29 of 37

Fill in this information to identify your case:

 

 

Debtor 7 Tory Danielle Gray Saeed perie eon —— FIL E D
First Name

Micicie Namer Lat Narn

Debtor 2 « Sse = —s
(Spouse, if filing) Fest Name Middle Name

asl Mame 2019 Noy 20 PH a L5

ff ire:
ialCHE: : bh
) it M
Case number aa so a 19 xt
( known) re AN

United States Bankruptcy Court for the; Western District of Michigan

 

Official Form 106H
Schedule H: Your Codebtors

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

12/15

1. Do you have any codebtors? (if you are filing a joint case, do nol list either spouse as a codebtor.)

YW No
L) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territones include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
Mi No. Go to line 3.
LD Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

C) No

CY Yes. In which community state or territory did you live? — . Fill in the name and current address of that person.

 

Number Street

 

City : State "ZIP Code

3. In Column 7, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you, List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules (hal apply:

 

ee — ~ . - ——— - Schedule D, line
Name
(J Schedule E/F, line

 

 

 

 

 

 

 

 

Number Street a - CI Schedule G. line _
__ City State — ZPCode
[3.2|
_ _ — ) Schedule D, line _
Name a
QO) Schedule E/F, line
Number Street - _ Q} Schedule G, line
City = : State E ZIP Code
|
ai passe QO) Schedule D, line
Re
QO) Schedule EJF, line
Number Street QO) Schedule G line
City State ~ ZIP Code a
Official Form 106H Schedule H: Your Codebtors

page tof
a Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 30 of 37

 

Fill in this information to identify your case: ; - i { f= 1)

 

 

 

 

Debtor 4 Tory ___ Danielle a ray _ _
; First Name Middle Name Lact Naene 2019 NOY 20 PM 3: 45
Debtor 2 _ = —
(Spouse, if filing) First Name Middie Name Last Name itt Intec W ; LERK
| - MIC} ELLE | Me WILSON CLE
United States Bankruptey Court for the: Western District of Michigan Mil Wt oh be
U.S. BANKRUPT TOY COURT
riper _ pao es CheK:¢ TRBNSDBIST. ( (jf F MICHIGAN
Q) An amended filing
C) A supplement showing postpetition chapter 13
income as of the following date:
Official Form 1061 MM 7 DD? YY
Schedule I: Your income 12/15

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
seperate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

okue Descrf#e Employment

1. Fillin your employment
information. Debtor 1 Debtor 2 or non-filing spouse

 

If you have more than one job,

attach a separate page with ze
information about additional Employment status 4 Employed = Employed
employers. LJ Not employed LI] Not employed
Include part-time, seasonal, or
self-employed work,

‘ ; Occupation CNA — a _
Occupation may include student
or homemaker, if it applies.

Employer's name Rest Haven Care Center =

Employer's address 280 W. 40th St.

 

Number Street - Number Street

Holland Mi 49423

City State ZIP Code Ciy Stale ZIP Code
How long employed there? 6 years 6 years

| Part 2: Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

 

For Debtor 1 For Debtor 2 or
non-filing spouse
2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2 5 2,000.00

a=

3. Estimate and list monthly overtime pay. 3. +§ 0 +5)

 

al

4, Calculate gross income. Add line 2 + line 3. 4. | 5 2,000.00

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 31 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Tory Danielle Gray Case number (it srcan).
First Name Meddie Name List Namo
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy Pine 4 Were... ececcccccecsssscsessessssescsssesscatscesnsscasscsacsesecececsreeceseaceeesesssaeass >«4 $2,000.00 S$
5. List all payroll deductions:
Sa. Tax, Medicare, and Social Security deductions Sa. § 304.00 $
5b. Mandatory contributions for retirement plans 5b. § 0 $
Sc. Voluntary centributions for retirement plans 5c. § 0 $
5d. Required repayments of retirement fund loans Sd. §$ 0 $
Se. Insurance Se. § 0 3.
5f. Domestic support obligations 5f. $ 0 $
5g. Union dues bg. 5 0 3
Sh. Other deductions. Specify: Sh. +3 O +43
6. Add the payroll deductlons. Add lines 5a + 5b + 5c + 5d + Se +5f+5g+5h. 6. $ 0 $
7. Calculate total monthly take-home pay. Subtract line 6 fram line 4. 7. $1,696.00 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Altach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total $ 0 $

monthly net income. 8a.
8b. interest and dividends 8b.  § 0 $
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support. child support, maintenance, divorce 5 400.00 $

settlement, and property settlement. 8c.
8d. Unemployment compensation ad. = S 0 $
8e. Social Secuaty Be. § 0 $
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: sf. 0 $
8g. Pension or retirement income 8. § 0 $
8h, Other monthly income. Specify: 8h. +5 0 +s

9. Add all other income. Add lines 8a + 8b + 8c + Bd + Se + Bf +8g + 8h. 9] $ 400.00 $
10. Calculate monthly Income. Add line 7 + line 9. $ 2,096.00] 4 5 0 le 5 2,096.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. —_——__—_—.

 

 

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

 

Specity: 11+ § 0

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 2 096.00

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical information, if it applies 42. s_ «eee
Combined

monthly Income
13.Do you expect an increase or decrease within the year after you file this form?

2 No.

 

ncoome, | wi oF wor ja
bf Yes. Explain: ys

 

 

Official Form 106! Schedule I: Your Income page 2
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 32 of 37

Fillin this Information to identify your case:

b Danielle eaeiiei
Debior:1 “lniiane . .°.°»«xOLT ene Last Narre —= = Check if this Is:
Debtor 2

(Spouse, if filing) FiatName Midcle Name saiiens Q) An amended filing

. . (J A supplement showing postpetition chapter 13
United States Bankruptcy Court for the; Western District of Michigan expenses as of the following date:
Case number _ MM 7 DD/ YYYY
(If known)

 

 

 

Official Form 106J
Schedulé J: Your Expenses

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplyinggorrect

information. If more space is needed, attach another sheet to this form. On the top of any additional pages, wilfveues™e @Hl case number
(if known). Answer every question. pas

12/15

 

 

 

 

ao
Describe Your Household =
po ~
oa q
1. Is this a joint case? mM
3 rm)
A No. Goto tine 2. = Co
(J Yes. Does Debtor 2 live in a separate household? a2
QO) No on
C) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?
y P CI No Dependents relationship to Dependent's Does dependent live
Do not list Debtor 1 and | Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent.................0c068 ——— ——— gO —
N
Do not state the dependents’ daughter ns 14 as w :
names. Yes
son _ 8 —s C) No
wi Yes
daughter ao Boa O No
wi Yeas
a
son oe Oo EINo
Yes
[) No
rs CL) Yes
3. Do your expenses include A No

expenses of people other than r
yourself and your dependents? O) Yes

ae Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule /; Your /ncorne (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. |nclude first mortgage payments and . 1,129. 00.
any rent for the ground or lot. Da

If not included in line 4:

4a. Real estate taxes

4a 3 CS _0
4b. Property, homeowner's, or renter's insurance 4b. So
4c. Home maintenance, repair, and upkeep expenses 4c $_ eget 0
4d, Homeowner's association or condominium dues 4d $ 0

Official Form 106J Schedule J: Your Expenses
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 33 of 37

 

 

 

 

 

 

 

Case aumber (rt ancwn),

Debter1 ory Danielle Gray
First Namo. Middle Name Last Name
a
§. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, celi phone, Internet, satellite, and cable services
6d. Other. Specify:
7. Feod and housekeeping supplies
8. Childcare and children’s education costs
9. Clothing, taundry, and dry cleaning
10. Personal care products and services
11. Medical and dental! expenses
12. Transportation. Include gas, maintenance, bus or train fare.
Do nat include car payments.
13. Entertainment, clubs, recreation, newspapers, magazines, and books
44. Charitable contributions and religious donations
15. insurance. @
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance
15b. Health insurance
15c. Vehicle insurance
15d. Other insurance. Specify:
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:
17. Installment G7 lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
t7¢. Other, Specity:0
17d. Other. Specify:
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Your income (Official Form 1061).
19. Other payments you make to support others who do not live with you.
Specify:
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule f: Your income.

Official Form 106J

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

ba.
6b.
6c

6d.

10

11.

42.

43.

14,

15a.
1b.
1&c.
18d.

16.

17a.
17b.
17c.

Wd.

19.

20a
20b
20c.
20d.

206.

Your expenses

$

Ff FH HH FF HF FH WH wH

wo FF HF WH

A AF WF

fwyn nw w

 

130.00
70.00
60.00

400.00

80.00
40.00

150.00

140.00
160.00

oO/O |Oo 1[o

2 19 1O lO 1|O

Page 2
@
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 34 of 37

 

 

Debtor 1 Tory Danielle _ Gray Case number (tecam__
Fest Namo Migdie Name Lon Namo
21. Other. Specify: 21 +5 0

 

22. Calculate your monthly expenses.

 

22a. Add lines 4 through 21. 22a. | §$ 2,299.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. | § 0
|
22c. Add line 22a and 22b. The result is your monthly expenses. 22. °° ¢ 2,299.00 |
23. Calculate your monthly net income.

f . 5 2,096.00
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. >
23. Copy your monthly expenses from line 22c above. 23b. ¢ 2,299.00

a
23¢c. Subtract your monthly expenses from your monthly income. -203.00
The result is your monthly net income. 23c. $____.._._-<s""

 

 

 

24. Do you expect an Increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan wilhin the year or do you expect your
morlgage payment to increase or decrease because of a modification to the terms of your mortgage?

Wi No.

Yes. — Explain here:

Official Form 106J Schedule J: Your Expenses page 3
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 35 of 37

Fill in this information to identify your case: iz i; it a i a - [ L E p)

Debtor 4 Tory _ Danielle

- First Marne ~  Midele ame i Naan 2019 NOY 20 PH 3: 31

(Spouse, if filing) First Name Middle Name

 

ef

Al

United States Bankruptcy Court for the: Western District of Michigan

  

Wee TERN
Case number _ WEST can DIST.
(If known) aniended fi filing

OF RICHICAR

| L} Check if this is an

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information — 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.
a

Summarize Your Assets

Your assets
Value of what you own

1. Sehedule A/B: Property (Official Form 106A/B)

 

 

 

 

 

ta. Copy line 55, Total real estate, from Schedule A/B oo... ccc eeee teens sUESLL Gs pea g UNV ED daa CaS SUNS $ 0
1b. Capy line 62; Total personal property, from Schadtle AVB vic isiicceeiecceicc us aiieniesae ett ance eaalaiediin ie cdteeeaees 5 12,650.00
1c. Copy line 63, Total of all property on Schedule A/B 0.0.0... sta pen eta rea curso sxuuarcm bea gecnLy ipa Ea cates ocean een etree eT ecCeeeEs 5 12 650.00
ee Summarize Your Liabilities
Your liabilities

Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

. 0
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule O............ $_
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 0
3a. Copy the total @aims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F oc... voce bvuees oevueeevewens $ =
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule EVF «occ cere - % 31,213.57
Your total liabilities s___3t, 213. Sv
aa Summarize Your Income and Expenses
4. Schedule |: Your Income (Official Form 1061
eS : 5 2,096.00
Copy your combined monthly income from line 12 of SCHECUIE I .............ceceececceecce cscs saseesenesanteaeeseeeescnesseee sea AT - —————
5 Schedule J; Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c¢ of Schedule J ................. wields ancl dcctesheressensessaneasTesanarti@ieascsas nae exe tturprasieenentea $_ 2,299.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
@ Case:19-04876-jwo Doc #:1-1 Filed: 11/20/19

Debtor 1 Tory Danielle Gray Case number (ifkecan) _

First Namo Maddie Name Last Name

Fie Answer These Questions for Administrative and Statistical Records

Page 36 of 37

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

CI No. You have nothing to report on this part of the form. Check this box and submit this form to
4) Yes

7. What kind of debt do you have?

the court with your other schedules.

M1 Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,

family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for stalistical purposes. 2:

B U.S.C. § 159.

Q) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court wilh your other schedules.

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F-

 

s___ 2,400.00

 

 

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) So __o
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $0 _ 90
9c. Claims for death or personal injury while you were intoxicated. (Copy fine 6c.) $$. 9
9d. Student loans. (Copy line 6f.) S$ __o
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0

priority claims. (Copy line 6g.) TO
Sf. Debts to pensign or profit-sharing plans, and other similar debts. (Copy line 6h.) +§ _ ___._0
9g. Total. Add lines 9a through 9f. $. ___o

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 2 of 2
Case:19-04876-jwo Doc#:1-1 Filed: 11/20/19 Page 37 of 37

Fill in this information to identify your case:

Debtor 1 Tory Danielle Gray F L E D

First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name 2019 Noy 20 PM 3: 3 |

United States Bankruptcy Court for the: Western District of Michigan

 

  

Case number

 

 

 

 

If known rey AALIDT

vi VOURT () Check if this is an
MIVAQAT amended filing

Official Form 106Dec

Declaration About an Individual Debtor’s Schedules 12/15

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

C) No
Wf Yes. Name of person_ Kimberly M. Stebbins . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

* Mtg x

 

 

Signature of Debtor 1 Signature of Debtor 2
nae) [; ay | ‘a } { Date
WM/ OD / YYYY MM/ DD / YYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules
